Case 2:20-cv-00004-JRG Document 239 Filed 08/09/21 Page 1 of 7 PageID #: 6042




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

  JOE ANDREW SALAZAR, §

               Plaintiff, §

  v. § CIVIL ACTION NO. 2:20-CV-00004-JRG
                                           §
  AT&T MOBILITY LLC, SPRINT UNITED §
  MANAGEMENT COMPANY, T-MOBILE §
  USA INC, CELLCO PARTNERSHIP, INC. §
  D/B/A VERIZON WIRELESS, INC., §
                                           §
               Defe dants. §

                                 VERDICT FORM
       In answering the following questions and completing this Verdict Form, you

 are to follow all the instructions I have given you in the Court s Final Jury

 Instructions. Your answers to each question must be unanimous. Some of the


 questions contain legal terms that are defined and explained in detail in the Final

 Jury Instructions. You should refer to and consider the Final Jury Instructions as you

 answer the questions in this Verdict Form.
Case 2:20-cv-00004-JRG Document 239 Filed 08/09/21 Page 2 of 7 PageID #: 6043




       As used herein, the following terms have the following meanings:

         Salazar or “Plaintiff means Joe Andrew Salazar.

       “AT&T refers to AT&T Mobility LLC.

       “Sprint refers to Sprint United Management Company.

       “T-Mobile” refers to T-Mobile USA, Inc.

       “Verizon refers to Cellco Partnership d/b/a Verizon Wireless, Inc.

       “Defendants collectively refers to AT&T Mobility LLC, Sprint United

       Management Company, T-Mobile USA Inc., Cellco Partnership, Inc. D/B/A

       Verizon Wireless, Inc.


       The “’467 Patent refers to U.S. Patent No. 5,802,467.


       The “Asserted Claims collectively refers to Claims 1-7, 29-30, and 34 of

       the ’467 Patent.




                                         2
Case 2:20-cv-00004-JRG Document 239 Filed 08/09/21 Page 3 of 7 PageID #: 6044




       IT IS VERY IMPORTANT THAT YOU FOLLOW THE
      INSTRUCTIONS PROVIDED IN THIS VERDICT FORM




      READ THEM CAREFULLY AND ENSURE THAT YOUR
             VERDICT COMPLIES WITH THEM




                                      3
Case 2:20-cv-00004-JRG Document 239 Filed 08/09/21 Page 4 of 7 PageID #: 6045




  QUESTION NO. 1:



  Did Salazar prove by a preponderance of the evidence that Defendants infringed

  ANY of the Asserted Claims?




                                        4
Case 2:20-cv-00004-JRG Document 239 Filed 08/09/21 Page 5 of 7 PageID #: 6046




  QUESTION NO. 2:



 Did Defendants prove by clear and convincing evidence that any of the following

 Asserted Claims are invalid?

 Check Yes or “No for each Asserted Claim listed below:




             Claim 1 of the 467 Patent         Yes:


             Claim 2 of the 467 Patent         Yes:

             Claim 3 of the ’467 Patent        Yes:

             Claim 4 of the ’467 Patent        Yes:

             Claim 5 of the ’467 Patent        Yes:

             Claim 6 of the ’467 Patent        Yes:

             Claim 7 of the ’467 Patent        Yes:


             Claim 29 of the ’467 Patent       Yes:

             Claim 30 of the ’467 Patent       Yes:

             Claim 34 of the ’467 Patent       Yes:




                                           5
Case 2:20-cv-00004-JRG Document 239 Filed 08/09/21 Page 6 of 7 PageID #: 6047




  If you answered NO to Question No, 1 OR YES to ALL Asserted Claims in
  Question No. 2, then DO NOT ans er Question No, 3,

  Answer Question No. 3 ONLY as to any Asserted Claim that ou have found
  BOTH to be infringed and not invalid.




  QUESTION NO. 3:


  What sum of money, if paid now in cash, has Salazar proven by a preponderance of
  the evidence would compensate Salazar for his damages resulting from infringement
 through September 28, 2015?




 Answer, separately for each Defendant, in United States Dollars and Cents, if any:




        AT&T                                           $


        Sprint                                      $


        T-Mobile                                        $


        Verizon                                        $




                                         6
Case 2:20-cv-00004-JRG Document 239 Filed 08/09/21 Page 7 of 7 PageID #: 6048




                      FINAL PAGE OF JURY VERDICT FORM

  You have now reached the end of the Verdict Form and should review it to ensure it

  accurately reflects your unanimous determinations. The Jury Foreperson should then

  sign and date the Verdict Form in the spaces below. Once this is done, notify the

  Court Security Officer that you have reached a verdict. The Jury Foreperson should

  keep the Verdict Form and bring it when the jury is brought back into the courtroom.



  Signed this   --9,__ day of August, 2021.


                                              ___________________________
                                              JURY FOREPERSON




                                              7
